Case 19-30430                Doc 68      Filed 09/11/19 Entered 09/11/19 13:45:04        Desc Main
                                           Document Page 1 of 1
   FILED & JUDGMENT ENTERED
             Steven T. Salata




         September 11 2019


     Clerk, U.S. Bankruptcy Court
    Western District of North Carolina
                                                                        _____________________________
                                                                                 J. Craig Whitley
                                                                          United States Bankruptcy Judge




                                UNITED STATES BANKRUPTCY COURT
                               WESTERN DISTRICT OF NORTH CAROLINA
                                       CHARLOTTE DIVISION

 IN RE:                                               )
                                                      )
           Rodney Allen Pinckney                      )     CHAPTER 7
                                                      )
                                                      )      CASE NO. 19-30430
                                         Debtor       )


    ORDER ON MOTION FOR RECONSIDERATION OF ORDER GRANTING
    THE MOTION OF MARLENE JONES TO CONVERT THIS CHAPTER 13
                   CASE TO A CHAPTER 7 CASE

        THIS CAUSE coming to be heard before the United States Bankruptcy Judge
 Whitley in the Chapter 7 case, and a response having been filed by creditor, Marlene
 Jones, upon the Motion for Order, and it appearing that this matter would more properly
 be before Judge Beyer for reconsideration of her order converting the case,


 IT IS THEREFORE ORDERED:

      1. This matter is continued to September 24, 2019 before Judge Beyer on the
         Chapter 13 calendar at 10:00 am, at the United States Bankruptcy Court, 401 W.
         Trade St., Charlotte, NC 28202.
      2. That a new notice of hearing shall be mailed out for the continued date.




 This order has been signed electronically.                          United States Bankruptcy Court
 The judge’s signature appears at the
 top of the order.
